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EXHIBIT A

PHLEGAL #1818636 vl (1229 011. DOC)
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MICHAEL BAKSA (3/9/05) DESIGNATION CHART

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Designation/Counter From Page : To Page: Objection Dep Ex. Trial Ex
Line Line
Plaintiffs’ designation 4:8 4:9
Plaintiffs’ designation 10:9 10:12
Plaintiffs’ designation 10:18 11:10
Plaintiffs’ designation 12:13 12:25
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Plaintiffs’ designation 84:16 85:3
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Designation/Counter From Page : To Page: Objection Dep Ex. Trial Ex
Line Line
Defendants’ counter 138:5 138:9 P Object
Defendants’ counter 138:19 138:25 P Object
Plaintiffs’ designation 144:5 144:18
Plaintiffs’ designation 146:5 146:17
Plaintiffs’ designation 147:6 147:15
Defendants’ counter 148:1 148:20
Defendants’ counter 149:7 150:16 P Object
Defendants’ counter 191:21 191:25 P Object
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EXHIBIT B

PHLEGAL #1818636 v1 (1279 O1E. DOC)
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MICHAEL BAKSA (9/22/05) DESIGNATION CHART

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Designation/Counter From Page : To Page: Objection Dep Ex. Trial Ex
Line Line
Plaintiffs’ designation 3:9 3:10
Plaintiffs’ designation 4:11 5:22 Ex. | P-658
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PHLEGAL: #1818636 v1 (12Z9_01.DOC)

 
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EXHIBIT C

PHLEGAL 71818636 vl (12Z9 011 DOC)
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MICHAEL BEHE DESIGNATION CHART

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Designation/Counter | From Page: To Page: Objection Dep Ex. Trial Ex
Line Line
Plaintiffs’ designation 4:7 4:8
Plaintiffs’ designation 46:9 46:10
Plaintiffs’ designation 46:17 47:7
Plaintiffs’ designation 67:15 67:18
Plaintiffs’ designation 86:21 87:8
Defendants’ counter 134:8 134:10 P Object
Defendants’ counter 135:13 135:17 P Object
Plaintiffs’ designation 149:1 149:1 Ex. 8 P-359
Plaintiffs’ designation 149:8 149:11
Defendants’ counter 150:15 150:23
Plaintiffs’ designation 151:10 153:22
(beginning
and ending
with “Yes.”)
Defendants’ counter 153:22 153:23
(beginning
with “‘Just...)
Defendants’ counter 242:13 243:12
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PHLEGAL: #1818636 v1 (12Z9_01!.DOC)

 
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EXHIBIT D

PHLEGAI. #1818636 vI (1229 011.DOC)
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ALAN BONSELL 1/3/05 DESIGNATION CHART

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Designation/Counter From Page : To Page: Objection Dep Ex. Trial Ex
Line Line
Plaintiffs’ designation 3:16 3:17
Plaintiffs’ designation 4:9 4:21
Plaintiffs’ designation 12:21 14:3
Plaintiffs’ designation 17:4 18:13 Ex. 3 P-104
Plaintiffs’ designation 18:23 18:25
Plaintiffs’ designation 19:8 19:19
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Plaintiffs’ designation 77:24 79:16
Defendants’ counter 79:17 79:24
Defendants’ counter 80:4 80:17
Plaintiffs’ designation 80:18 81:4
Defendants’ counter 81: 81:7
Plaintiffs’ designation 82:20 85:20
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EXHIBIT E

PHLEGAI 71818636 vi (1229 011. DOC)
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ALAN BONSELL 4/13/05 DESIGNATION CHART

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Designation/Counter From Page : To Page: Objection Dep Ex. Trial Ex
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Plaintiffs’ designation 3:7 3:8

Defendants’ counter 17:1 17:25 P Object
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Defendants’ counter 19:20 21:12
Plaintiffs’ designation 21:13 22:4

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Plaintiffs’ designation 24:21 25:5

Plaintiffs’ designation 26:18 26:23

Plaintiffs’ designation 31:7 34:9

Plaintiffs’ designation 43:5 43:25

Plaintiffs’ designation 44:6 44:24

Plaintiffs’ designation 49:2 51:12 Ex. 19 P-127
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EXHIBIT F

PHLEGAIL #1818636 v1 (12Z9 01!) DOC)
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CHARLOTTE BUCKINGHAM DESIGNATION CHART

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Designation/Counter From Page : To Page: Objection Dep Ex. Trial Ex
Line Line
Plaintiffs’ designation 3:7 3:8
Plaintiffs’ designation 6:4 6:5
Plaintiffs’ designation 6:17 7:9
Plaintiffs’ designation 10:21 10:25
Plaintiffs’ designation 11:1 11:13
Plaintiffs’ designation 11:16 12:9
Plaintiffs’ designation 13:1 13:7
Plaintiffs’ designation 13:14 13:16
Plaintiffs’ designation 13:22 13:25
Plaintiffs’ designation 16:19 17:9
Plaintiffs’ designation 17:13 17:18
Plaintiffs’ designation 18:2 18:8
Plaintiffs’ designation 18:21 18:25
Plaintiffs’ designation 19:16 22:19
Plaintiffs’ designation 24:13 26:1
Plaintiffs’ designation 29:6 29:18
Plaintiffs’ designation 30:8 31:9
Plaintiffs’ designation 44:2 44:4
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EXHIBIT G

PHLEGAL #1818636 vl (12Z9 01'.DOC)
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WILLIAM BUCKINGHAM 1/3/05 DESIGNATION CHART

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Designation/Counter From Page: To Page: Objection Dep Ex. Trial Ex
Line Line
Plaintiffs’ designation 4:8 4:15
Plaintiffs’ designation 10:7 10:8
Plaintiffs’ designation 10:17 10:19
Plaintiffs’ designation 12:6 12:11
Plaintiffs’ designation 13:10 13:16
Plaintiffs’ designation 37:5 37:7
Plaintiffs’ designation 57:3 57:19
Plaintiffs’ designation 58:24 62:1
Plaintiffs’ designation 62:9 62:15
Defendants’ counter 62:19 63:15
Defendants’ counter 64:23 65:1
Defendants’ counter 65:12 65:15
Plaintiffs’ designation 66:7 70:5 Ex. 5 P-65
Plaintiffs’ designation 77:12 84:17
Plaintiffs’ designation 90:6 90:20
Defendants’ counter 90:21 91:13
Plaintiffs’ designation 93:15 93:21
Plaintiffs’ designation 96:19 99:6
Defendants’ counter 105:21 106:15
Defendants’ counter 107:1 109:10
Plaintiffs’ designation 128:8 129:2 Ex. 5 P-703
Plaintiffs’ designation 131:23 132:3
Defendants’ counter 132:16 133:11
Plaintiffs’ designation 133:12 134:6
Defendants’ counter 134:16 135:21
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PHLEGAL: #1818636 vl (1229 011. DOC)

 
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EXHIBIT H

PHLEGAL 41818626 vIE(i2Z9 OLEDOC)
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WILLIAM BUCKINGHAM 3/31/05 DESIGNATION CHART

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Designation/ From Page: | To Page: Objection Dep Ex. Trial Ex

Counter Line Line
Plaintiffs’ designation 3:7 3:8 _ —
Plaintiffs’ designation 14:11 — 16:21 . Ex. 2 P-120
Plaintiffs’ designation 17:9 18:4
Plaintiffs’ designation 18:22 21:12 Ex. 35 P-129A
Plaintiffs’ designation 24:11 24:18
Plaintiffs’ designation 28:9 28:24 Ex. 36 P-145
Plaintiffs’ designation 33:19 36:1
Plaintiffs’ designation 38:1 39:21
Plaintiffs’ designation 40:4 40:22
Plaintiffs’ designation 44:17 44:25
Plaintiffs’ designation 46:11 47:14
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EXHIBIT I

PHLEGAL #1818636 v1 (1229 O01) DOC)
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JON BUELL DESIGNATION CHART

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Designation/Counter From To Page: Objection Dep Ex. Trial Ex
Page: Line
Line
Plaintiffs’ designation 8:13 8:14
Plaintiffs’ designation 9:16 14:19
Plaintiffs’ designation 17:6 17:20
Defendants’ counter 19:11 20:5
Plaintiffs’ designation 21:19 22:8 Ex. 1 P-168
Plaintiffs’ designation 22:19 23:22
Plaintiffs’ designation 23:24 24:2
Plaintiffs’ designation 24:11 25:17
Plaintiffs’ designation 26:9 26:13
Plaintiffs’ designation 27:13 28:18 Ex. 2 P-704
Defendants’ counte3r 28:21 29:14
Plaintiffs’ designation 29:15 29:25 Ex. 3 P-461
Plaintiffs’ designation 30:1 31:7
Plaintiffs’ designation 34:4 35:11 Ex. 4 P-130
Plaintiffs’ designation 39:22 40:2
Plaintiffs’ designation 40:17 41:6 Ex. 5 P-28
Plaintiffs’ designation 41:17 46:14 Ex. 6 P-168A
Plaintiffs’ designation 46:19 50:12 Ex. 7 P-566
Defendants’ counter 50:13 51:14
Plaintiffs’ designation 51:15 53:20
Plaintiffs’ designation 53:24 54:25
Defendants’ counter 55:2 56:1
Defendants’ counter 56:8 56:10
Plaintiffs’ designation 56:25 57:3 Ex. 8 P-565
Plaintiffs’ designation 57:10 61:4 (end
with “...is)
Defendants’ counter 61:4 61:18
(beginning
“" the...)
Defendants’ counter 61:22 62:23
Defendants’ counter 64:8 64:12
Plaintiffs’ designation 64:22 67:21 Ex. 9 P-1
Plaintiffs’ designation 67:25 68:23
Defendants’ counter 68:42 69:3
Plaintiffs’ designation 69:15 69:21 Ex. 9 P-1
Ex. 8 P-565
Defendants’ counter 70:5 71:18
Plaintiffs’ designation 71:19 71:19 Ex. 10 P-2
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Designation/Counter From To Page: Objection Dep Ex. Trial Ex
Page: Line
Line
Plaintiffs’ designation 71:25 71:25
Plaintiffs’ designation 72:2 73:6 Ex. 9 P-1
Ex. 10 P-2
Plaintiffs’ designation 73:13 73:16 Ex. 11 P-170
Defendants’ counter 74:6 75:5
Plaintiffs’ designation 7T7T:A2 77:14 Ex. 12 P-7
Plaintiffs’ designation 7T7AT 78:12
Defendants’ counter 78:13 79:8
Plaintiffs’ designation 79:24 79:25 Ex. 13 p-4
Plaintiffs’ designation 80:7 80:16
Plaintiffs’ designation 82:7 82:9 Ex. 14 P-171
Plaintiffs’ designation 82:14 83:6 Ex. 15 P-8
Plaintiffs’ designation 85:23 85:25 Ex. 16 P-705
Plaintiffs’ designation 86:3 86:21
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Ex. 22 P-709
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Plaintiffs’ designation 110:19 110:19 Ex. 23 P-710
Plaintiffs’ designation 111:3 112:17 Ex. 24 P-711
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Ex. 33 P-22
Ex. 34 P-713
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EXHIBIT J

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JANE CLEAVER DESIGNATION CHART

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Designation/Counter From Page : To Page: Objection Dep Ex. Trial Ex
Line Line
Plaintiffs’ designations 5:9 5:12
Plaintiffs’ designations 15:4 15:13
Defendants’ designations 46:15 48:15 Plaintiffs’
Object
Defendants’ designations 51:10 52:4
Defendants’ designations 64:12 64:15 Plaintiffs’
Object
Plaintiffs’ designations 64:16 65:15
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EXHIBIT K

PHLEGAL #1818636 v1 (12Z9 O11 DOC)
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STEVE FULLER 6/21/05 DESIGNATION CHART

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Designation/Counter From Page: To Page: Objection Dep Ex. Trial Ex
Line Line
Plaintiffs’ designation 3:5 3:7
Defendants’ counter 37:9 37:21 P Object
Defendants’ counter 38:1 38:22 P Object
Defendants’ counter 39:7 39:22 P Object
Defendants’ counter 50:22 51:11
Defendants’ counter 56:11 57:23
Plaintiffs’ designation 58:14 58:15
Plaintiffs’ designation 59:6 [ from: to 60:9 [end @
do...] yet.””]
Defendants’ counter 60:9 (from: 61:11
But...)
Plaintiffs’ designation 61:12 61:15
Plaintiffs’ designation 61:17 61:19
Plaintiffs’ designation 61:21 62:2 [end @...
light. |
Defendants’ counter 62:2 (from: |... 62:9
Plaintiffs’ designation 67:8 67:18
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Plaintiffs’ designation 68:24 68:25
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Defendants’ counter 118:2 119:5
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Designation/Counter From Page : To Page : Objection Dep Ex. Trial Ex
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why]
Plaintiffs’ designation 141:12 142:10 P-124-B
Defendants’ counter 146:6 146:20
Defendants’ counter 147:8 147:19
Plaintiffs’ designation 151:10 151:24 Ex. 5 P-717
Plaintiffs’ designation 152:3 152:5
Plaintiffs’ designation 152:17 153:6
Plaintiffs’ designation 153:8 153:10
Plaintiffs’ designation 153:21 154:5
Plaintiffs’ designation 154:7 154:11 [end @
.- people. ]
Defendants’ counter 154:11 (from: 155:4
But...)
Plaintiffs’ designation 155:14 155:16
Plaintiffs’ designation 155:18 155:20 [end @
..supernatural. |
Defendants’ counter 155:20 (from: 155:25
Yes...)
Plaintiffs’ designation 156:2 157:2
Plaintiffs’ designation 166:1 166:1 [page
539.]
Plaintiffs’ designation 166:15 166:18
Plaintiffs’ designation 167:8 169:10
Plaintiffs’ designation 169:14 169:16
Plaintiffs’ designation 170:1 170:9
Defendants’ counter 170:10 171:2
Defendants’ counter 171:24 173:15
Defendants’ counter 186:16 188:9 P Object
Defendants’ counter 216:15 217:7 P Object
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EXHIBIT L

PHLEGAL #1818636 v1 (12Z9 01! DOC)
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HEATHER GEESEY DESIGNATION CHART

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Designation/Counter | From Page: To Page: Objection Dep Ex. Trial Ex
Line Line
Plaintiffs’ 3:7 3:8
designations
Plaintiffs’ 5:14 5:25
designations
Plaintiffs’ 9:17 9:21
designations
Plaintiffs’ 17:14 17:22
designations
Plaintiffs’ 43:5 43:9
designations
Plaintiffs’ 63:23 63:24
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Plaintiffs’ 68:19 69:2
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Plaintiffs’ 70:5 73:22 Ex. 5 P-84C
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Defendants’ counter 80:6 82:23
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designations
Plaintiffs’ 93:7 93:10
designations
Plaintiffs’ 95:18 96:6
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Plaintiffs’ 96:10 96:24
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Plaintiffs’ 110:4 11:11 Ex. 31 P-60
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Designation/Counter | From Page: To Page: Objection Dep Ex. Trial Ex
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designations
Plaintiffs’ 116:7 118:16
designations
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EXHIBIT M

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SHEILA HARKINS (1/3/05) DESIGNATION CHART

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Designation/Counter | From Page: Line | To Page: Line | Objection Dep Ex. Trial Ex
Plaintiffs’ designation 4:8 4:9
Plaintiffs’ designation 11:2 11:11
Plaintiffs’ designation 12:10 12:13
Plaintiffs’ designation 13:10 13:17
Plaintiffs’ designation 14:1 14:12
Plaintiffs’ designation 20:22 21:15
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Plaintiffs’ designation 99:25 100:3
Plaintiffs’ designation 102:23 103:5 Ex. 2 P-120
Plaintiffs’ designation 103:24 104:15
Plaintiffs’ designation 105:7 105:11
Plaintiffs’ designation 105:20 106:14
Plaintiffs’ designation 108:16 109:4
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EXHIBIT N

PHLEG AIL: #1818636 v1 (12Z9 01!.DOC)
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SHEILA HARKINS 4/12/05 DESIGNATION CHART

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Designation/Counter From Page : To Page: Objection Dep Ex. Trial Ex
Line Line
Plaintiffs’ designation 3:7 3:8
Defendants’ counter 12:1 12:25
Defendants’ counter 23:1 24:7 P Object
Defendants’ counter 25:11 26:5
Defendants’ counter 26:22 26:25
Plaintiffs’ designation 28:23 29:4
Plaintiffs’ designation 30:4 31:4
Defendants’ counter 31:5 32:4
Defendants’ counter 37:11 38:9 P Object
Defendants’ counter 39:7 39:24 P Object
Plaintiffs’ designation 53:21 54:5
Defendants’ counter 55:9 55:18
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EXHIBIT O

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SCOTT MINNICH DESIGNATION CHART

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Designation/Counter From Page : To Page : Objection Dep Ex. Trial Ex
Line Line
Plaintiffs’ designation 5:13 5:16
Plaintiffs’ designation 7:17 7:20
Plaintiffs’ designation 7:24 8:1
Defendants’ counter 8:2 9:1 P Object
Defendants’ counter 9:22 10:11
Defendants’ counter 10:15 10:21 P Object
Defendants’ counter 33:9 34:6 P Object
Plaintiffs’ designation 34:13 34:18
Defendants’ counter 34:19 35:19 P Object
Defendants’ counter 36:10 37:1 P Object
Defendants’ counter 40:1 42:7 P Object
Plaintiffs’ designation 42:8 42:11
Defendants’ counter 42:12 42:20 P Object
Plaintiffs’ designation 71:2 72:1
Defendants’ counter 72:2 73:12 P Object
Defendants’ counter 73:12 73:16
Plaintiffs’ designation 73:17 74:4
Defendants’ counter 83:9 84:16 P Object
Defendants’ counter 85:17 85:24
Defendants’ counter 85:25 89:2 P Object
Defendants’ counter 89:3 89:25
Defendants’ counter 91:11 91:20
Plaintiffs’ designation 91:21 92:10
Plaintiffs’ designation 93:13 94:14
Defendants’ counter 95:5 95:14 (ending P Object
at “...life.”)
Plaintiffs’ designation | 96:25 (beginning | 97:7 (ending at
at “So...”) “..agree.””)
Defendants’ counter 97:7 (beginning 97:22
at “Like...”)
Plaintiffs’ designation 232:20 233:4 Ex. 13 P-520
Plaintiffs’ designation 233:10 233:18
Defendants’ counter 233:19 234:5
Plaintiffs’ designation 236:11 237:9 Ex. 14 P-127
(Admitted)
Defendants’ counter 237:10 237:20
Plaintiffs’ designation 238:18 238:23
O-1

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EXHIBIT P

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RICHARD NILSEN 1/3/05 DESIGNATION CHART

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Designation/Counter From Page: To Page: Objection Dep Ex. Trial Ex
Line Line

Plaintiffs’ designation 3:7 3:8

Plaintiffs’ designation 4:14 4:19

Plaintiffs’ designation 13:3 13:18 Ex. | P-113

Plaintiffs’ designation 16:2 16:19

Plaintiffs’ designation 17:14 18:16

Plaintiffs’ designation 19:21 20:3

Plaintiffs’ designation 20:16 20:22

Plaintiffs’ designation 24:14 24:16

Plaintiffs’ designation 27:7 27:10

Plaintiffs’ designation 29:22 31:13

Plaintiffs’ designation 32:6 32:22
Defendants’ designation 36:18 36:21 Plaintiffs’

Object

Plaintiffs’ designation 43:4 43:5 Ex. 2 P-120

Plaintiffs’ designation 43:13 44:5

Plaintiffs’ designation 44:12 44:25

Plaintiffs’ designation 59:13 59:14 Ex. 4 P-51
Defendants’ designation 60:7 60:11 Plaintiffs’

Object

Plaintiffs’ designation 60:24 61:11

Plaintiffs’ designation 61:21 62:10

Plaintiffs’ designation 63:6 63:22 Ex. 4 P-54
Defendants’ designation 63:23 64:6
Defendants’ designation 70:24 71:22

Plaintiffs’ designation 83:25 84:5
Defendants’ designation 85:8 86:15

Plaintiffs’ designation 96:17 96:21

Plaintiffs’ designation 97:1 99:2
Defendants’ designation 99:3 100:8

Plaintiffs’ designation 100:24 101:6
Defendants’ designation 111:11 111:16

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EXHIBIT Q

PHLEGAL 41818636 v1 (1229 01!.DOC)
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RICHARD NILSEN 4/14/05 DESIGNATION CHART

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Designation/Counter | From Page : Line To Page: Objection Dep Ex. Trial Ex
Line
Plaintiffs’ designation 3:7 3:8
Plaintiffs’ designation 8:10 8:18
Defendants’ designation 8:19 9:3
Defendants’ designation 12:6 13:8
Defendants’ designation 13:15 13:24
Defendants’ designation 15:10 19-2 Plaintiffs’
Object
Plaintiffs’ designation 39:23 40:16 Ex. 3 P-104
Plaintiffs’ designation 41:5 41:15
Plaintiffs’ designation 49:6 49:17
Defendants’ designation 50:15 51:5 Plaintiffs’
Object
Defendants’ designation 51:10 53:15 Ex. 43 P-124-B
Plaintiffs’ designation 53:16 54:4
Plaintiffs’ designation 56:7 57:2 Ex. 9 P-26
Plaintiffs’ designation 58:24 59:6
Plaintiffs’ designation 63:2 64:3
Plaintiffs’ designation 93:19 [from “If you 94:22
would...”’]
Defendants’ designation 95:3 96:15
Plaintiffs’ designation 100:24 101:6
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EXHIBIT R

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RICHARD NILSEN 8/25/05 DESIGNATION CHART

 

 

 

 

 

 

 

 

 

 

 

 

Designation/Counter From Page: To Page: Objection Dep Ex. Trial Ex

Line Line
Plaintiffs’ designations 4:15 4:16

Plaintiffs’ designations Ex. 56 P-21

Ex. 57 P-24

9:19 6:2 Ex. 58 P-25

Ex. 59 P-701
Plaintiffs’ designations 6:25 13:19
Defendants’ designations 15:24 16:5
Plaintiffs’ designations 15:24 16:5
Plaintiffs’ designations 16:6 25:2

 

 

 

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EXHIBIT $

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CHARLES THAXTON DESIGNATION CHART

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Designation/Counter From Page : To Page : Objection Dep Ex. Trial Ex
Line Line
Plaintiffs’ designation 5:1 5:3
Plaintiffs’ designation 7:24 9:3 Ex. 1 P-177
Defendants’ counter 9:4 9:12
Defendants’ counter Lis] 11:14
Defendants’ counter 12:5 12:21
Defendants’ counter 12:25 13:2
Defendants’ counter 13:17 14:25
Plaintiffs’ designation 15:12 15:23
Plaintiffs’ designation 26:5 27:12
Plaintiffs’ designation 31:7 32:21
Plaintiffs’ designation 34:17 35:6
Plaintiffs’ designation 40:2 [from: “I 40:21 Ex. 2 P-178
had’’|
Plaintiffs’ designation 41:7 41:16
Plaintiffs’ designation 44:18 45:5
Defendants’ counter 46:25 48:14
Plaintiffs’ designation 49:13 50:11 Buell | P-168
Defendants’ counter 51:14 51:25
Defendants’ counter 52:11 53:14
Plaintiffs’ designation 59:10 [from: 59:12 [end @
“Let me...] earlier. |
Plaintiffs’ designation 60:1 60:12
Defendants’ counter 60:13 61:5
Plaintiffs’ designation 61:12 66:15 Buell 6 P-168-A
Buell 7 P-566
Defendants’ counter 66:16 67:13
Plaintiffs’ designation 67:18 67:22 Buell 8 P-565
Defendants’ counter 68:13 70:11
Plaintiffs’ designation 70:12 70:22
Plaintiffs’ designation 71:21 72:23 [end @
different. |
Defendants’ counter 72:23 (from: 73:18
“T...)
Plaintiffs’ designation 73:19 75:3 [end @ Buell 10 P-2
necessarily. |
Defendants’ counter 78:8 80:5
Defendants’ counter 81:7 81:15
Defendants’ counter 82:1 81:25
Plaintiffs’ designation 86:16 87:15 [end @
so. |
Defendants’ counter 90:11 92:15

 

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Designation/Counter From Page : To Page : Objection Dep Ex. Trial Ex
Line Line
Defendants’ counter 96:1 96:9
Defendants’ counter 96:20 96:23
Defendants’ counter 97:15 100:7
Defendants’ counter 100:9 100:10
Defendants’ counter 100:12 100:13
Defendants’ counter 100:16 100:21
Defendants’ counter 101:1 101:18
Defendants’ counter 101:23 102:17
Defendants’ counter 102:20 103:24

 

 

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